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 8                          UNITED STATES DISTRICT COURT
 9                                DISTRICT OF NEVADA
10
11    UNITED STATES OF AMERICA,         )          3:12-cr-00015-HDM-WGC
                                        )
12                   Plaintiff,         )
                                        )          ORDER
13                                      )
      vs.                               )
14                                      )
      RANDY MACARIO ANCHETA,            )
15                                      )
                     Defendant.         )
16    _________________________________ )
17         The government shall file a response to the defendant’s motion
18    to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255
19    (ECF Nos. 123, 128) on or before May 31, 2017.
20         IT IS SO ORDERED.
21         DATED: This 29th day of March, 2017.
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23                                 ____________________________
                                   UNITED STATES DISTRICT JUDGE
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